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UNITED STATES DISTRICT COURT                                              DOC#:~~~~~­
SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: NOV 0 7 2014
---------------------------------------------------------------------- )(



IN RE ALUMINUM WAREHOUSING                                                     13-md-2481 (KBF)
ANTITRUST LITIGATION                                                          and all related cases

                                                                              OPINION & ORDER

----------------------------------------------------------------------   )(
KATHERINE B. FORREST, District Judge:

          On August 25, 2014, this Court issued an Opinion & Order dismissing

defendant the London Metal Exchange Limited (the "LME") from this action on

sovereign immunity grounds without leave to replead. (ECF No. 564 ("Op.").) Now

before the Court is plaintiffs' joint 1 motion for reconsideration of this Opinion &

Order pursuant to Local Civil Rule 6.3. 2 (ECF No. 578.) For the following reasons,

that motion is DENIED.

I.        PROCEDURAL BACKGROUND

          On August 16, 2013, the first of what would become a large number of

lawsuits alleging federal antitrust and analogous state law claims was filed against,

inter aha, the LME. The LME moved to dismiss all claims against it on the basis

that it is immune under the Foreign Sovereign Immunities Act ("FSIA"). (ECF No.

320.) In an Opinion & Order dated August 25, 2014 (the "Opinion"), the Court

granted the LME's motion to dismiss without leave to replead. (Op. at 31.)


1   Plaintiff Eastman Kodak Company has not joined in the motion.
2 In support of their motion for reconsideration, plaintiffs submitted hundreds of pages of new factual

materials. (See ECF Nos. 580, 594.) While submission of such materials was not procedurally
proper, the Court has considered such materials in connection with the instant motion.
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Applying the multi-factor test set forth by the Second Circuit in Filler v. Hanvit

Bank, 378 F.3d 213 (2d Cir. 2004), the Court determined that the LME is an

"organ" of the United Kingdom, despite the fact that it is privately owned by Hong

Kong Exchanges and Clearing Limited and was previously owned by, inter alia,

various investment banks and trading companies. (Op. at 22-28.) The Court

further determined that the LME's allegedly unlawful conduct-involvement in a

conspiracy involving, inter alia, the manipulation of load-out rules for aluminum

warehouses-did not constitute "commercial" activity under the FSIA because

conduct relating to warehouse rules falls within the LME's broad regulatory

function. (Op. at 28-31.) In sum, based on the minimal facts which are needed to

make such determinations and clear law, this Court determined that it lacks

jurisdiction over the LME's particular conduct alleged in the various complaints in

this consolidated and coordinated series of actions. (Op. at 3 & n.5.)

      On September 8, 2014, plaintiffs filed a joint motion for reconsideration of the

Opinion. (ECF No. 578.) Plaintiffs argue that the Opinion should be reconsidered

and that the Court should reverse itself based on: (1) an intervening change in the

law regarding the definitions of organ status and commercial activity under the

FSIA owing to the Supreme Court's decision in Republic of Argentina v. NML

Capital, Ltd., 134 S. Ct. 2250 (2014) and the Second Circuit's decision in Export-

Import Bank of the Republic of China v. Grenada, 768 F.3d 75 (2d Cir. 2014); (2) the

Court's error in not permitting plaintiffs to take limited discovery from the LME;




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 and (3) additional facts not previously brought to the Court's attention. (See ECF

 Nos. 579, 593, 604, 607, 617.)

          On October 7, 2014, the Court notified plaintiffs that they might in their

proposed amended complaints set forth any new factual allegations not previously

brought to the Court's attention that bear on the LME's role in the alleged antitrust

conspiracy. (ECF No. 605.) On October 9, 2014, plaintiffs Agfa Corporation, Agfa

Graphics, N.V., Mag Instrument, Inc., and Eastman Kodak Company submitted a

motion for leave to amend their complaint and a proposed amended complaint.

(ECF No. 608.) On October 10, 2014, the First Level Purchaser plaintiffs did the

same, and then on October 29, 2014 submitted a revised version of their proposed

amended complaint in response to an order from the Court regarding the proper

titling of the complaint. 3 (ECF Nos. 610, 631.) The briefs and letters pertaining to

this motion became fully submitted on October 23, 2014. 4 The Court has reviewed

and considered all of these materials in connection with the instant motion.




:iThe First Level Purchaser plaintiffs ("FLPs") filed a motion for leave to amend their complaint and
a proposed amended complaint, which they titled their "Second Consolidated Class Action
Complaint," on October 10, 2014. (ECF No. 180.) The Court then issued two orders dated October
24, 2014 and October 27, 2014 clarifying that the FLPs' proposed amended complaint was in fact
their "Third Proposed Amended Complaint" and should be amended to reflect such designation.
(ECF Nos. 628, 630.) The FLPs subsequently refiled their motion for leave to amend and proposed
amended complaint to reflect this designation on October 29, 2014. (ECF No. 631.)
4 In a memo-endorsed order dated October 6, 2014, the Court permitted the LME to file a sur-reply
brief. (ECF No. 602.) The LME filed its sur-reply later that day. (ECF No. 603). On October 7,
2014, the Court issued an order stating that the motion was fully briefed. (ECF No. 605.) Each of
the parties then, without leave from the Court, filed several additional letters regarding the merits
of the motion for reconsideration, the last of which was filed on October 23, 2014. (ECF Nos. 604,
606, 607, 617, 622.) On October 24, 2014, the Court ordered the parties to refrain from additional
filings. (ECF No. 626.)

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II.    LEGAL STANDARD

       This is a motion for reconsideration based on Local Rule 6.3. It is not an

opportunity simply to reargue that which has already been decided. "The standards

governing a motion for reconsideration under Local Rule 6.3 are the same as those

under Federal Rule of Civil Procedure 59(e)." Abrahamson v. Bd. of Educ., 237 F.

Supp. 2d 507, 510 (S.D.N.Y. 2002). Thus, a "motion to reconsider should not be

granted where the moving party seeks solely to relitigate an issue already decided."

Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Rather, to prevail on

a motion for reconsideration, the movant must "point to controlling decisions or

data that the court overlooked-matters, in other words, that might reasonably be

expected to alter the conclusion reached by the court." Id. However, motions for

reconsideration cannot be based on arguments not previously raised. See Sequa

Corp. v. GBJ Corp., 156 F.3d 136, 144 (2d Cir. 1998) ("Rule 59 is not a vehicle for ..

. presenting the case under new theories, securing a rehearing on the merits, or

otherwise taking a 'second bite at the apple' .... ").

III.   DISCUSSION

       Plaintiffs argue that this Court should reconsider the Opinion for three

reasons. First, plaintiffs argue that the Supreme Court's decision in NML Capital

and the Second Circuit's decision in Export-Import Bank together establish that

Filler v. Hanvit Bank, 378 F.3d 213 (2d Cir. 2004), the primary authority on which

the Opinion was based, is no longer controlling. The Court disagrees. This

argument is based on a misreading of those opinions. Second, plaintiffs argue that

the Court should have permitted plaintiffs to take limited discovery from the LME.

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This is simply reargument of a point already raised and lost by plaintiffs. (ECF

Nos. 346, 362.) In any event, as a substantive matter, the Court disagrees. Third,

plaintiffs point to several "new" factual considerations which they argue establish

that the LME is not entitled to immunity. Several of these considerations are not,

in fact, "new." None of the facts change or alter the Court's decision. Accordingly,

plaintiffs' motion is DENIED.

      A.     Lack of Intervening Changes in the Law

             1.     Filler v. Hanvit Bank and NML Capital.

       There has not been an intervening change in the law with regard to organ

status or what constitutes "commercial activity" under the FSIA since the Court

issued the Opinion on August 25, 2014.

      In the Opinion, the Court determined that the LME was an organ of the U.K.

Government under the five-factor test set forth in Filler. In Filler, the Second

Circuit set forth various factors relevant to determine whether an entity constitutes

an "organ" of a foreign state under the FSIA ("Filler factors"). 378 F.3d at 217. The

Filler factors thus aid in interpreting the statutory term "an organ of a foreign

state," and in that regard are tethered to the text of the FSIA. Notably, and

contrary to the underlying premise of much of plaintiffs' argument, the Filler

factors would be unnecessary if organs of a foreign state were always easily

identifiable as such. Instead, Filler and numerous cases applying the Filler factors

recognize that the identification exercise can require further inquiry.

      Plaintiffs argue that Filler was overruled sub silentio by the Supreme Court's

recent decision in NML Capital, which was decided after this Court held oral

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argument on the LME's motion to dismiss, notwithstanding the fact that the

Supreme Court's decision affirmed a Second Circuit decision that did not purport to

overrule Filler. Specifically, plaintiffs argue that NML Capital rejected the use of

multi-factor balancing tests in interpreting and applying the FSIA, as evidenced by

the Supreme Court's statement that federal courts are no longer in the "immunity-

by-factor-balancing business," and that "any sort of immunity defense made by a

foreign sovereign in an American court must stand on the Act's text. Or it must

fall." (See ECF No. 579 at 3-5 (quoting NML Capital, 134 S. Ct. at 2256, 2258)).

Plaintiffs point to Filler as fitting the bill for an "immunity-by-factor-balancing"

case. As further support for their argument, plaintiffs point to the Second Circuit's

statement in Export-Import Bank that NML Capital has left in its wake an "altered

legal landscape." (See ECF No. 593 (quoting Export-Import Bank, 768 F.3d at 93).)

According to plaintiffs, this altered landscape includes the overruling of Filler. This

Court disagrees with plaintiffs' assessment of NML Capital and Export-Import

Bank.

        In NML Capital, the Supreme Court addressed whether the FSIA shields a

judgment debtor from federal rules governing discovery when the judgment debtor

is a foreign state. Id. at 2255. There, a holder of debt issued by Argentina sought

post-judgment discovery from third parties for the purpose of identifying

Argentinean assets to attach. Id. at 2253. Argentina argued that the FSIA

prohibited such discovery, citing as support several decisions pre-dating the FSIA in

which courts extended absolute immunity as to discovery in aid of execution against


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foreign-state property. Id. at 2254-58. These decisions were generally based upon

multi-factor balancing tests that incorporated considerations the State Department

had taken into account when deciding whether to request immunity for a particular

foreign entity. Id. at 2255.

       The Supreme Court explained that Congress passed the FSIA to "abateO the

bedlam" created by this "old executive-driven, factor-intensive, loosely common-law

based immunity regime." Id. at 2255. Accordingly, because the FSIA displaced the

common law decisions pre-dating it, these earlier decisions that employed

"immunity-by-factor-balancing" were irrelevant to the question before the Court, as

"any sort of immunity defense made by a foreign sovereign in an American court

must stand on the Act's text. Or it must fall." Id. at 2256-58. Applying this

principle to the case at hand, the Court searched the FSIA for a provision forbidding

or limiting the discovery sought, and because it could not find one, concluded that

the FSIA did not prohibit such discovery. See id.

      NML Capital therefore did not address the issue of whether a particular

entity is "an organ of a foreign state" under the FSIA, which was the key issue

decided by the Second Circuit in Filler. Further, there is no reason to believe that

the Supreme Court's rejection in NML Capital of "immunity-by-factor-balancing"

and non-textually based immunity functionally overrules Filler, both because the

Filler factors set forth by the Second Circuit in 2004 are not part of the "loosely

common-law based immunity regime" displaced by the passage of the FSIA in 1976,




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and because they are tethered to the text of the statute; they serve not to displace

but to aid in interpreting a statutory term.

       The Second Circuit's recent decision in Export-Import Bank does not affect

this conclusion, as it is merely a straightforward application of NML Capital to a

dispute over post-judgment discovery that does not so much as mention Filler. See

768 F.3d at 78 (vacating district court's order denying plaintiffs request for post-

judgment discovery "in light of the Supreme Court's recent decision in [NML

Capital], which rejected any perceived FSIA-based restrictions on discovery related

to a foreign sovereign's assets in the United States").

       Simply put, Filler was not overruled sub silentio by NML Capital or any

subsequent Second Circuit case. Accordingly, there has been no intervening change

in federal law since the Court issued the Opinion that warrants this Court's

reconsideration of its determination that the LME is an organ of the U.K.

Government.

              2.    Discovery.

      Plaintiffs argue that NML Capital requires the Court to allow plaintiffs to

seek discovery from the LME. They argue that NML Capital establishes that the

FSIA does not preclude the permissive discovery allowed by Rule 26, and that

courts should disregard a discovery target's "self-serving" statements regarding the

necessity of discovery and permit such discovery to proceed where factual questions

are relevant to determining whether the target is immune under the FSIA. (ECF

No. 579 at 4.)



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       This is incorrect. NML Capital does not address under what specific factual

circumstances a court must grant jurisdictional discovery, and in fact, it makes

clear that the decision whether to permit such discovery remains within the

discretion of the district court. Indeed, in its opinion the Supreme Court noted that

"other sources of law ordinarily will bear on the propriety of discovery requests of

this nature and scope, such as settled doctrines of privilege and the discretionary

determination by the district court whether the discovery is warranted." 134 S. Ct.

at 2258 n.6 (internal quotation marks omitted). Likewise, in Export-Import Bank,

the Second Circuit remanded the case to the district court to consider "whether to

permit further [post-judgment] discovery, consistent with ... NML Capital" and

Rule 69 of the Federal Rules of Civil Procedure. 768 F.3d at 93 (emphasis added).

       The Second Circuit's recent decision in Mare Shipping Inc. v. Squire Sanders

(US) LLP, 574 Fed. App'x 6 (2d Cir. 2014), which is cited by plaintiffs in support of

their argument that this Court should permit jurisdictional discovery (see ECF Nos.

579 at 4, 593 at 4-5), does not alter this conclusion. In Mare, a summary order

without precedential effect, the Second Circuit held that a U.S. law firm was not

immune to discovery under the FSIA because the plain text of the statute precluded

the law firm from qualifying as an "agency or instrumentality" of a foreign state.

Id. at 9. In so doing, the Second Circuit explicitly reviewed the district court's

denial of a discovery request for abuse of discretion and stated that "[o]nce a

District Court determines that it has jurisdiction over the [discovery] request, the

District Court has discretion to decide whether or not to grant it." Id. at 8.



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       There has been no intervening change in the law regarding the district

court's discretion whether to permit jurisdictional discovery since this Court issued

the Opinion.

       Further, discovery would not help plaintiffs. Whether an entity is entitled to

organ status is based, inter alia, on how its government treats it; if it is an organ,

the Court then turn to whether there is an exception to immunity (such as whether

the allegedly unlawful conduct is commercial in nature). Here, there are no

additional facts needed: the positions of the U.K.'s Financial Conduct Authority and

the U.K. judiciary regarding the LME are clear, as discussed in the opinion. (Op. at

12-13, 23-30.) The LME's regulatory role is clear; its oversight by the FCA is clear;

its immunity from suit under U.K. law for actions it takes to fulfill its regulatory

functions is clear; and the U.K. judiciary's view that the LME is a public body whose

rules are subject to judicial oversight is also clear. Discovery will not alter the fact

that the LME's allegedly unlawful conduct-which concerns the setting of load-out

rules for aluminum warehouses-is regulatory, and not commercial in nature.

Accordingly, the Court does not reverse its prior decision not to permit jurisdictional

discovery from the LME.

      B.       Additional Facts

      In its Opinion, the Court noted that its decision was grounded both on the

law and facts, and that the factual record bearing on whether the LME was immune

from suit under the FSIA was "amply developed." (Op. at 31.)       Nevertheless, in

their submissions in support of this motion, plaintiffs point to several additional

facts they assert demonstrate that the LME is not an organ of the U.K.
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Government. As set forth below, the Court has considered each of the proffered

facts and determines that none alters its prior determination as to the LME's

immunity from suit under the FSIA.

                1.   Trademarks.

       Plaintiffs argue that the fact that the LME has registered various

trademarks in the United States shows that the LME's conduct is commercial

within the meaning of the FSIA. In particular, plaintiffs point to the LME's

trademarks for "London Metal Exchange"; "LMEsword,'' which is an electronic

database that tracks transactions involving LME-warehoused aluminum; and "LME

Clear," an in-U.S. electronic trading platform. (ECF No. 579 at 7.) Plaintiffs also,

in their proposed amended complaint, allege that that International Commodity

Services, Ltd. ("ICS") is a co-conspirator, and that its role in the conspiracy is to use

the LMEsword database on behalf of several defendants. (See Proposed Third

Amended Complaint, ECF No. 631 ex. A at         iii[ 133-40 (filed under seal); Joint
Amended Complaint of Plaintiffs Agfa Corporation and Agfa Graphics, N.V., Mag

Instrument, Inc., and Eastman Kodak Company, ECF No. 608 at             iii! 92-97 (filed
under seal).)

      This argument is unpersuasive. First, trademarks are merely intellectual

property. While trademarks may point to and refer to commercial activity, they do

not themselves constitute commercial activity. The LMEsword database is used for

monitoring and tracking LME-warehoused aluminum transactions, and as such is

used by the LME to effectuate its public function of market regulation. The LME

conduct here at issue is part of its regulatory function; the fact that LMEsword may
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be used in connection with or to facilitate that conduct does not alter that

characterization. In addition, plaintiffs also do not explain how LME Clear serves

as evidence of commercial activity-they point only to the fact that the LME

registered a trademark for LME Clear.

       Second, the commercial activity exception is concerned only with activities

relevant to plaintiffs' claims and theory of the case. See Saudi Arabia v. Nelson,

507 U.S. 349, 357 (1993). Plaintiffs' allegations with regard to the use of LMEsword

concern its use by ICS, not the LME. Further, plaintiffs have not alleged that LME

Clear is implicated in the conspiracy at all.

      Accordingly, the LME's trademarks do not lead this Court to alter or change

its prior determination as to the LME's immunity.

             2.     CFTC.

      Plaintiffs also argue that this Court should reconsider its decision because

the LME has applied to the CFTC to become a Foreign Board of Trade ("FBOT")

and, as part of the application process, agreed to appoint an agent for service of

process in the United States and to subject itself to CFTC regulations. Plaintiffs

note that this application has drawn scrutiny from three U.S. senators, who would

like the CFTC to investigate the LME for conduct relating to the conspiracy alleged

in the case before this Court.

      Plaintiffs implicitly argue that being an FBOT would entail the LME having

a generally commercialized presence in the United States. However, the

commercial activity exception is concerned only with whether the allegedly unlawful

conduct is commercial in nature. It is of no import if an entity otherwise engages in
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commercial activities unrelated to those at issue in the lawsuit, and the LME's

activities as an FBOT applicant are not at issue here. Further, even if being an

FBOT entails engaging in commercial activity in the United States, this would only

mean that the commercial activity exception could apply to future LME conduct, not

the past activities at issue in this case. Again, "commercial activity" for FSIA

purposes must be related to plaintiffs' allegations.

       Second, it is not the case that the appointment of an individual by a foreign

sovereign or its organ for purposes of accepting service of process constitutes a

concession of or admission to jurisdiction. This is not how jurisdiction over a foreign

sovereign or its organ works, nor is it consistent with the legislative history of the

FSIA. See Blue Ridge Investments, L.L.C. v. Republic of Argentina, 735 F.3d 72, 84

(2d Cir. 2013) (citing Cabiri v. Gov't of Republic of Ghana, 165 F.3d 193, 201 (2d Cir.

1999) (implied waiver provision of FSIA must be construed narrowly); Paterson,

Zochonis (U.K.) Ltd. v. Compania United Arrow, 493 F. Supp. 621, 629 (S.D.N.Y.

1980) (designation of U.S. agent for receipt of service of process was not implied

waiver of immunity under FSIA).

      Finally, concerns expressed by certain legislators are irrelevant to

qualification for legal immunity under the FSIA. Whether an entity is entitled to

organ status is based on how its government treats it, not how it is treated by the

United States or anyone within the U.S. See Filler, 378 F.3d at 217.

      In any event, there is no reason why plaintiffs should have failed to bring this

application to the Court's attention until now, given that the LME first applied to



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become an FBOT as early as 2012 and the factual materials submitted by plaintiffs

relating to the LME's FBOT application are publicly available on the CFTC's

website. (See ECF Nos. 594 & 594-4.) Plaintiffs' argument here is nothing but a

meritless attempt to take a "second bite at the apple." Sequa, 156 F.3d at 144.

              3.    Other considerations.

       None of the other facts or considerations pointed to by plaintiffs in support of

this motion (several of which plaintiffs' counsel simply failed to raise in their prior

briefing) alter this Court's conclusion.

       First, plaintiffs argue that the LME's disclosure to the Judicial Panel on

Multidistrict Litigation that it is a "non-governmental corporate party" is an

admission that it is not immune under the FSIA. This is not a new fact-the

disclosure was filed 264 days before plaintiffs filed their joint opposition to the

LME's motion to dismiss (see ECF Nos. 367, 594 ex. F), and the Court

acknowledged and took into consideration the private non-governmental ownership

of the LME in the Opinion (see Op. at 2, 22). Further, as the Court noted in the

Opinion (Op. at 16-17), a foreign state need not have any ownership interest in an

entity for it to be an "organ" of that state. See USX Corp. v. Adriatic Ins., Co., 345

F.3d 190, 209 (3d Cir. 2003). Accordingly, this fact does not alter the Court's

determination that the LME is immune from plaintiffs' suit under the FSIA.

      Second, plaintiffs have brought to the Court's attention several statements

that indicate that the LME believes its warehousing rules are subject to U.K. or

E.U. competition law. Plaintiffs argue that if the LME is subject to competition law

in the U.K., then it must also be subject to U.S. antitrust law. This argument is
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also unpersuasive. Whether the LME is subject to foreign competition law has no

bearing on Congress's intent with regard to the extent of sovereign immunity under

a U.S. statute, the FSIA. Even assuming, arguendo, that the LME is subject to

U.K. or E.U. competition law, this would only matter insofar as it is an additional

and, in the Court's view, minor consideration relevant to the Court's assessment of

the fifth Filler factor, "how the entity is treated under foreign state law," 378 F.3d

at 217, which is in any event not dispositive and not to be given any particular

weight, see In re Terrorist Attacks on Sept. 11, 2001, 538 F.3d 71, 85 (2d Cir. 2008),

abrogated on other grounds by Samantar v. Yousuf, 560 U.S. 305 (2010); Hausler v.

JPMorgan Chase Bank, N.A., 845 F. Supp. 2d 553, 572-73 (S.D.N.Y. 2012). This

consideration therefore does not alter the Court's conclusion that, on balance, the

Filler factors establish that the LME is an organ of the U.K. government.

      Third, plaintiffs argue that the LME has acknowledged that it is a private

commercial entity and not a sovereign organ because it has recently engaged in

lobbying activities in the United States. Specifically, plaintiffs note that the LME's

head of business development recently visited Washington, D.C. and met with

Senator Sherrod Brown, among others. (ECF No. 617.) However, the LME's

lobbying activities in the United States are irrelevant to any of the Filler factors,

and they cannot change the regulatory nature of the LME's setting of load-out rules.

Further, not all organizations that engage in lobbying are commercial in nature,

and not all lobbying is done for commercial ends. And again, "commercial activity"

for FSIA purposes must be related to the alleged conspiracy itself.



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       Lastly, plaintiffs' proposed amended complaints (ECF Nos. 613, 623) do not

set forth any additional factual allegations not previously brought to the Court's

attention or highlighted in the briefing for the instant motion that alter this Court's

determination as to the LME's immunity from suit under the FSIA. Plaintiffs have

drafted their proposed amended complaints with the benefit of having obtained

some document discovery from defendant Metro International Trade Services,

L.L.C. and the defendants affiliated with Goldman Sachs, as well as a more detailed

review of the publicly available information and statements relating to this case,

which includes press releases, news articles, other media reports, data made

publicly available by the LME, historical data regarding aluminum physical and

forward contract prices, Congressional testimony, economic analysis, and expert

analysis. (See ECF No. 613 ex. 2; ECF No. 623    ir 1 n.1.)   Although the Court denied

plaintiffs leave to replead against the LME, it has nevertheless reviewed the

allegations relating to the LME in plaintiffs' amended complaints as if pursuant to

Rule 15. To the extent plaintiffs' factual allegations are relevant to this Court's

determination that the LME is an organ of the U.K. Government, the Court has

already discussed them in this opinion.

IV.   CONCLUSION

      For the reasons set forth above, plaintiffs' joint motion for reconsideration of

the Court's dismissal of the LME on foreign sovereign immunity grounds without

leave to replead and its denial of limited discovery from the LME is DENIED.




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      The Clerk of Court is directed to close the motion at ECF No. 578. The Clerk

of Court is also directed to close the following member-case motions: ECF No. 70 in

no. 14-cv-211; ECF No. 87 in 14-cv-217; ECF No. 160 in no. 14-cv-3116.

         SO ORDERED.

Dated:       New York, New York
             November 3:_, 2014



                                              KA THERINE B. FORREST
                                              United States District Judge




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